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 7   CRISIS24 PROTECTIVE SOLUTIONS, LP
 8
                               UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10

11   MICHAEL PAULS,                              Case No.

12               Plaintiff,                      DECLARATION OF GABOR BUKSZAR
                                                 IN SUPPORT OF DEFENDANT’S NOTICE
13         vs.                                   OF REMOVAL

14   CRISIS24 PROTECTIVE SOLUTIONS, LP, a
     Delaware limited partnership; and DOES 1
15   through 25, inclusive,
                                                 Action Filed:   March 27, 2024
16               Defendants.                     Trial Date:     None Set

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                                                                        Case No.
         DECLARATION OF GABOR BUKSZAR IN SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL
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 1                               DECLARATION OF GABOR BUKSZAR
 2            I, Gabor Bukszar, declare and state as follows:
 3            1.     I am over eighteen years old and authorized to execute this Declaration.
 4            2.     I am currently employed as Director of Human Resources for Crisis24 Protective
 5   Solutions, LP (“Defendant”), a defendant in the above-captioned action. I make this declaration in
 6   support of Defendants’ Notice of Removal of Civil Action to United States District Court
 7   (“Removal”). The facts set forth herein are true of my own personal knowledge and my review of
 8   business records, and if called upon to testify thereto, I could and would competently do so under
 9   oath.
10            3.     As Director of Human Resources of Crisis24 Protective Solutions, LP, I am the person
11   ultimately responsible for all Human Resources operations of the entity. In that role, I have become
12   knowledgeable of the structure and operations of that limited partnership.
13            4.     Garda World acquired the limited partnership now known as Crisis24 Protective
14   Solutions, LP on or about July 1, 2021. Crisis24 Protective Solutions, LP is a Delaware limited
15   partnership and has been throughout the time I have worked for it. Throughout that same time period,
16   Crisis24 Protective Solutions, LP’s principal place of business has been in Florida (originally in Ft
17   Lauderdale and currently in Boca Raton). That office is the center of direction, control, and
18   coordination for the business functions central to the partnership’s operations. The personnel in
19   charge of the major human resources, payroll, and legal functions, and the development of policies
20   and protocols for Crisis24 Protective Solutions, LP’s operations, all are based in Florida.
21            5.     Since at least February 14, 2022, the sole member/limited partner of Crisis24
22   Protective Solutions, LP has been Garda USA Inc. Garda USA Inc. is a corporation organized under
23   the laws of Delaware. Since at least February 14, 2022, Garda USA Inc.’s corporate headquarters
24   and principal place of business have been in Boca Raton, Florida. Garda USA Inc.’s Boca Raton
25   office is the center of direction, control, and coordination for the business functions central to its
26   operations. The personnel in charge of the major human resources, payroll, and legal functions, and
27   the development of policies and protocols for Garda USA Inc.’s operations, are based in Florida.
28   Garda USA Inc. is a wholly-owned subsidiary of Garda World Security

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 1   Corporation.
 2          6.      I have reviewed Crisis24 Protective Solutions, LP’s employment records for Plaintiff
 3   Michael Pauls (“Plaintiff”) as they are available to me and kept in the ordinary course of business.
 4   Those records reflect that Plaintiff was a resident of Modesto, California located in Stanislaus
 5   County.
 6

 7          I declare under penalty of perjury under the laws of the United States and the State of
 8   California that the foregoing is true and correct, and that this declaration was executed on this
 9   26th day of April, 2024, at Boca Raton, Florida.
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12                                                 Gabor Bukszar
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          DECLARATION OF GABOR BUKSZAR IN SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL
